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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
                vs.                               )                 8:08CR53
                                                  )
PATRICIA LYNN JOHNSON,                            )          SCHEDULING ORDER
                                                  )
                       Defendant.                 )


      UPON THE ORAL MOTION OF THE DEFENDANT and no objection from the
government,

       IT IS ORDERED that the initial appearance and arraignment of the defendant is
continued to March 24, 2008 at 1:30 p.m. before Magistrate Judge F.A. Gossett, Courtroom
No. 6, Second Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha,
Nebraska.

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.

         DATED this 17th day of March, 2008.

                                               BY THE COURT:


                                               s/ F.A. Gossett
                                               United States Magistrate Judge
